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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Mitel Communications Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             fka Aastra USA Inc.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                0 ___
                                              ___ 4 –- ___
                                                         2 ___
                                                            8 ___
                                                               9 ___
                                                                  2 ___
                                                                     4 ___
                                                                        7 ___
                                                                           2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               2160 W Broadway Road
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Suite 103
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               Mesa                    Arizona 85202
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Maricopa
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.mitel.com/
                                              ____________________________________________________________________________________________________




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Debtor        Mitel Communications Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 1 ___
                                                    7 ___
                                                       8

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor         Mitel Communications Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an
                                                       See Rider 1
                                          Yes. Debtor _____________________________________________               Affiliates
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              Southern District of Texas
                                                   District _____________________________________________ When               03/09/2025
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor        Mitel Communications Inc.
              _______________________________________________________                               Case number (if known)_____________________________________
              Name




 13. Debtor’s estimation of                  Check one:
     available funds                          Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                              50-99                              5,001-10,000                               50,001-100,000
     creditors
                                              100-199                            10,001-25,000                              More than 100,000
                                              200-999

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                 petition.
     debtor
                                             Q   I have been authorized to file this petition on behalf of the debtor.

                                             Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                             03/09/2025
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                             8 /s/ Janine Yetter
                                                 _____________________________________________                 Janine Yetter
                                                                                                              _______________________________________________
                                                 Signature of authorized representative of debtor             Printed name

                                                       Authorized Signatory
                                                 Title _________________________________________




  7KH'HEWRUV HVWLPDWHGQXPEHURIFUHGLWRUVLVSURYLGHGRQDFRQVROLGDWHGEDVLVIRUDOO'HEWRUDIILOLDWHVOLVWHGRQ5LGHUDWWDFKHGKHUHWR
  7KH'HEWRUV HVWLPDWHGDVVHWVDUHSURYLGHGRQDFRQVROLGDWHGEDVLVIRUDOO'HEWRUDIILOLDWHVOLVWHGRQ5LGHUDWWDFKHGKHUHWR7KH
  'HEWRUV¶HVWLPDWHGDVVHWVDUHEDVHGRQERRNYDOXHDQGDUHQRWLQWHQGHGWRUHIOHFWIDLUPDUNHWYDOXH
  7KH'HEWRUV HVWLPDWHGOLDELOLWLHVDUHSURYLGHGRQDFRQVROLGDWHGEDVLVIRUDOO'HEWRUDIILOLDWHVOLVWHGRQ5LGHUDWWDFKHGKHUHWR


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             Mitel Communications Inc.
             _______________________________________________________
Debtor       Name                                                                       Case number (if known)_____________________________________



 18. Signature of attorney
                                       8 /s/ John F. Higgins
                                           _____________________________________________           Date       03/09/2025
                                                                                                              _________________
                                           Signature of attorney for debtor                                   MM    / DD / YYYY



                                          John F. Higgins
                                          _________________________________________________________________________________________________
                                          Printed name
                                           Porter Hedges LLP
                                          _________________________________________________________________________________________________
                                          Firm name
                                          1000        Main Street, 36th Floor
                                          _________________________________________________________________________________________________
                                          Number     Street
                                          Houston
                                          ____________________________________________________            TX
                                                                                                         ____________  77002
                                                                                                                      ______________________________
                                          City                                                           State        ZIP Code

                                          (713) 226-6000
                                          ____________________________________                            jhiggins@porterhedges.com
                                                                                                         __________________________________________
                                          Contact phone                                                  Email address



                                          09597500
                                          ______________________________________________________ TX
                                                                                                 ____________
                                          Bar number                                             State




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                                           Rider 1

                                     Affiliated Entities

         On the date hereof, each of the affiliated entities listed below (including the debtor
in this chapter 11 case) filed in the United States Bankruptcy Court for the Southern District
of Texas a petition for relief under chapter 11 of title 11 of the United States Code,
11 U.S.C. §§ 101 et seq. Contemporaneously with the filing of these petitions, such entities
filed a motion requesting joint administration of their chapter 11 cases under the case
number assigned to the chapter 11 case of MLN US HoldCo LLC.

             Debtor
     1.      Mitel Cloud Services, Inc.
     2.      MLN US HoldCo LLC
     3.      Mitel Business Systems, Inc.
     4.      Mitel Communications Inc.
     5.      Mitel (Delaware), Inc.
     6.      Mitel Europe Limited
     7.      Mitel Leasing, Inc.
     8.      Mitel Networks Corporation
     9.      Mitel Networks, Inc.
     10.     Mitel Networks (International) Limited
     11.     Mitel Technologies, Inc.
     12.     Mitel US Holdings, Inc.
     13.     MLN TopCo Ltd.
     14.     MLN US TopCo Inc.
     15.     MNC I Inc.
     16.     Unify Inc.
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                           OMNIBUS WRITTEN CONSENT
                      OF THE RESPECTIVE GOVERNING BODIES
                          OF THE UNDERSIGNED ENTITIES

                                         March 9, 2025

        The undersigned, being all of the directors of each board of directors or the sole member,
as applicable (each, a “Governing Body”), of the undersigned entities (each, a “Company” and
collectively, the “Companies”), do hereby consent and approve in writing, as of the date first
written above, pursuant to the provisions of applicable law as to each Company, and the respective
organizational documents of each of the Companies, as applicable, to the adoption of the following
resolutions, and each and every action shall have the same force and effect as if taken, approved
or adopted by affirmative vote at a duly convened meeting of the applicable Governing Body.

Chapter 11 Filing

       WHEREAS, on May 29, 2024, the boards of directors of each of MLN TopCo Ltd.
       (“TopCo”) and Mitel Networks (International) Limited (“MNIL”) each adopted resolutions
       approving the establishment of a committee of their respective boards of directors (each, a
       “Restructuring Committee”) and delegated each respective Restructuring Committee with
       the full and exclusive power and authority of each respective board of directors to plan for
       and assess potential strategic alternatives in connection with a potential restructuring and
       reorganization of each such Company and certain of their subsidiaries and affiliates,
       including the prosecution of potential chapter 11 cases by each such Company and certain
       of their subsidiaries, as well as ancillary or parallel insolvency proceedings in various
       jurisdiction as may be necessary or advisable (collectively, the “Restructuring Matters”).

       WHEREAS, the various transactions and actions contemplated herein, including the
       commencement of chapter 11 cases and other ancillary or parallel insolvency proceedings
       in various jurisdictions by the Companies set forth in Exhibit A (each, a “Debtor
       Company” and collectively, the “Debtor Companies”), the Debtor Companies obtaining
       DIP Financing (as defined herein), and the entry into the Restructuring Support Agreement
       (as defined herein) by the Companies set forth in Exhibit B (each, a “RSA Company Party”
       and collectively, the “RSA Company Parties”), constitute Restructuring Matters with
       respect to both TopCo and MNIL (the transactions and actions described herein
       collectively, the “Restructuring Transactions”).

       WHEREAS, prior to the date hereof, the Restructuring Committees met, considered the
       Restructuring Transactions described herein, determined them to be the best interests of
       TopCo and MNIL, their creditors, and other parties in interest, and recommended that
       TopCo and MNIL authorize the Restructuring Transactions.

       WHEREAS, the respective Governing Body of each Company has considered the
       financial and operational condition of such Company, including, without limitation, the
       historical performance of the Companies, the assets of the Companies, the current and long-
       term liabilities of the Companies, and presentations by the management and the financial
       and legal advisors of such Company regarding the liabilities and liquidity situation of the
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      Companies, the strategic alternatives available to them and the effect of the foregoing on
      such Company’s business, and solely with respect to the Debtor Companies, the relative
      risks and benefits of pursuing cases under the provisions of chapter 11 of title 11 of the
      United States Code (the “Bankruptcy Code”) and seeking recognition thereof in Canada
      under Part IV of the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36, as
      amended (the “CCAA”).

      WHEREAS, the respective Governing Body of each Company has consulted with the
      management and the financial and legal advisors of such Company and fully considered
      each of the strategic alternatives available to such Company, including the Restructuring
      Transactions.

      WHEREAS, the respective Governing Body of each Debtor Company has reviewed and
      considered its need to employ individuals and/or firms as counsel, professionals,
      consultants or financial advisors to represent and assist such Debtor Company in carrying
      out its duties in connection with the cases under the Bankruptcy Code and the CCAA
      recognition proceedings.

      WHEREAS, the Governing Body of MLN US HoldCo LLC (the “Amending Party”) has
      determined that it is advisable and in the best interests of the respective Company, its
      creditors, and other parties in interest, to amend the limited liability company agreement
      of the Company, (i) as set forth on Exhibit C attached hereto (the “Organizational
      Document Amendment”), the terms of which hereby are incorporated by reference herein,
      and (ii) to be effective as of immediately prior to filing the Chapter 11 Cases (as defined
      below).

      WHEREAS, the capacity of the Amending Party in respect of the Company set forth in
      the immediately preceding recital is referred to herein as the Amending Party’s “Amending
      Capacity” with respect to such Company.

      NOW, THEREFORE, BE IT,

Restructuring Support Agreement

      RESOLVED, that in the judgment of the respective Governing Body of each RSA
      Company Party, it is desirable and in the best interests of each such Company, its creditors
      and other parties in interest, that such Company shall be, and hereby is, authorized to enter
      into that certain restructuring support agreement (the “Restructuring Support Agreement”)
      by and among the RSA Company Parties, certain consenting creditors, and other
      consenting parties substantially in the form presented to each such Governing Body on or
      in advance of the date hereof, with such changes, additions, and modifications thereto as
      an Authorized Officer executing the same shall approve, such approval to be conclusively
      evidenced by an Authorized Officer’s execution and delivery thereof.

      RESOLVED, that Tarun Loomba, Janine Yetter, and Gregory J. Hiscock (each, an
      “Authorized Officer” and together the “Authorized Officers”), acting alone or with one or
      more other Authorized Officers be, and hereby is, authorized, empowered and directed to
      enter into, on behalf of each RSA Company Party, the Restructuring Support Agreement,


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      and to take any and all actions necessary or advisable to advance such RSA Company
      Party’s rights and obligations therein, including filing pleadings; and in connection
      therewith, each Authorized Officer, with power of delegation, is hereby authorized and
      directed to execute the Restructuring Support Agreement on behalf of each RSA Company
      Party and to take all necessary actions in furtherance of consummation of such agreements’
      terms.

Chapter 11 Cases

      RESOLVED, that in the judgment of the respective Governing Body of each Debtor
      Company, it is desirable and in the best interests of such Debtor Company, its creditors,
      and other parties in interest, that such Debtor Company shall be, and hereby is, authorized
      to file or cause to be filed voluntary petitions for relief (the “Chapter 11 Cases”) under the
      provisions of chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for
      the Southern District of Texas (the “Bankruptcy Court”).

      RESOLVED, that each of the Authorized Officers, acting alone or with one or more other
      Authorized Officers be, and hereby are, authorized, empowered and directed to execute
      and file on behalf of each Debtor Company all petitions, schedules, lists and other motions,
      papers, or documents, and to take any and all action such Authorized Officer deems
      necessary or proper to obtain such relief, including, without limitation, any action
      necessary to maintain the ordinary course operation of each Debtor Company’s business.

CCAA Resolutions

      RESOLVED, that in the judgment of the Governing Body of Mitel Networks Corporation
      (“MNC”), it is desirable and in the best interests of MNC and its stakeholders, that MNC
      shall be, and MNC hereby is, authorized to file or cause to be filed an application to seek
      recognition of the Chapter 11 Cases in respect of MNC (the proceedings commenced by
      such application, the “Canadian Recognition Proceedings”) in the Ontario Superior Court
      of Justice (Commercial List) (the “Canadian Court”) under the provisions of Part IV of the
      CCAA.

      RESOLVED, that the Governing Body of MNC hereby determines that it is desirable and
      in the best interests of MNC and its stakeholders that, (i) subject to approval of the
      Bankruptcy Court, MNC acts as the foreign representative pursuant to section 45(1) of the
      CCAA in respect of the Chapter 11 Cases in the Canadian Recognition Proceedings, and
      (ii) MNC files or causes to be filed with the Bankruptcy Court or Canadian Court, as
      applicable, all motions, applications, and other papers or documents advisable, appropriate,
      convenient, desirable or necessary to effectuate such appointment, and MNC is hereby so
      authorized.

      RESOLVED, that in connection with the commencement of the Canadian Recognition
      Proceedings, the Governing Body of MNC hereby (i) authorizes, adopts and approves the
      form, terms, and provisions of, and hereby authorizes and empowers the Authorized
      Officers to file or cause to be filed with the Canadian Court, any applications, motions,
      pleadings, and any other documents to be performed or agreed to by MNC that are



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       reasonably necessary for prosecution of and in connection with the Canadian Recognition
       Proceedings (collectively, the “Canadian Ancillary Documents”), (ii) authorizes and
       directs the Authorized Officers, in the name and on behalf of MNC, to execute and deliver
       (with such changes, additions, and modifications thereto as the Authorized Officer
       executing the same shall approve, such approval to be conclusively evidenced by such
       Authorized Officer’s execution and delivery thereof) each of the Canadian Ancillary
       Documents to which MNC is a party and, upon the execution and delivery thereof by each
       of the other parties thereto, cause MNC to perform its obligations thereunder.

Retention of Professionals

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to, in the name of and on behalf of each applicable Debtor Company, employ the
       law firms of Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”) and Porter
       Hedges LLP (“Porter Hedges”) as general bankruptcy counsel to represent and assist each
       such Debtor Company in carrying out its duties under the Bankruptcy Code, and to take
       any and all actions to advance such Debtor Company’s rights and obligations, including
       filing any pleadings; and in connection therewith, each Authorized Officer, with power of
       delegation, is hereby authorized and directed to execute appropriate retention agreements,
       pay appropriate retainers, and to cause to be filed an appropriate application for authority
       to retain the services of Paul, Weiss and Porter Hedges.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to, in the name and on behalf of each applicable Debtor Company, including MNC,
       employ the law firm of Goodmans LLP (“Goodmans”) as Canadian counsel to each such
       Debtor Company, including MNC, and to take any and all actions to advance such Debtor
       Company’s rights, including the preparation and filing of any pleadings in the Canadian
       Recognition Proceedings; and in connection therewith, each Authorized Officer, with
       power of delegation, is hereby authorized and directed to execute appropriate retention
       agreements, pay appropriate retainers prior to and immediately upon the filing of the
       Canadian Recognition Proceedings, and to cause to be filed an appropriate application in
       the Bankruptcy Court for authority to retain the services of Goodmans.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to employ PJT Partners LP (“PJT”) as investment banker and financial advisor to
       each such Debtor Company in connection with the Chapter 11 Cases and in connection
       therewith, each Authorized Officer, with power of delegation, is hereby authorized and
       directed to execute appropriate retention agreements, pay appropriate retainers, and to
       cause to be filed an appropriate application for authority to retain the services of PJT.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
       directed to, in the name of and on behalf of each applicable Debtor Company, employ FTI
       Consulting, Inc. (“FTI”) as restructuring and financial advisor to each such Debtor
       Company in connection with the Chapter 11 Cases and in connection therewith, each
       Authorized Officer, with power of delegation, is hereby authorized and directed to execute
       appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
       appropriate application for authority to retain the services of FTI.


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      RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
      directed to, in the name of and on behalf of each applicable Debtor Company, employ
      Stretto, Inc. (“Stretto”) as notice, claims, and solicitation agent and administrative advisor
      to represent and assist each such Debtor Company in carrying out its duties under the
      Bankruptcy Code, and to take any and all actions to advance such Debtor Company’s rights
      and obligations; and in connection therewith, each Authorized Officer, with power of
      delegation, is hereby authorized and directed to execute appropriate retention agreements,
      pay appropriate retainers, and to cause to be filed appropriate applications for authority to
      retain the services of Stretto.

      RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
      directed to, in the name of and on behalf of each applicable Debtor Company, employ any
      other professionals to assist each such Debtor Company in carrying out its duties under the
      Bankruptcy Code; and in connection therewith, each Authorized Officer, with power of
      delegation, is hereby authorized and directed to execute appropriate retention agreements,
      pay appropriate retainers and fees, and to cause to be filed an appropriate application for
      authority to retain the services of any other professionals as necessary.

      RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
      delegation, authorized, empowered and directed to, in the name of and on behalf of each
      applicable Debtor Company, execute and file all petitions, schedules, motions, lists,
      applications, pleadings, and other papers and, in connection therewith, to employ and retain
      all assistance by legal counsel, accountants, financial advisors, and other professionals and
      to take and perform any and all further acts and deeds that such Authorized Officer deems
      necessary, proper, or desirable in connection with each such Debtor Company’s Chapter 11
      Case, with a view to the successful prosecution of each such case.

Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

      RESOLVED, that in the judgment of the respective Governing Body of each Debtor
      Company, it is desirable and in the best interests of such Debtor Company, its creditors and
      other parties in interest, that such Debtor Company shall be, and hereby is, authorized to
      obtain senior secured superpriority postpetition financing (the “DIP Financing”), subject
      to the approval of the Bankruptcy Court, on the terms and conditions of that certain Debtor-
      In-Possession Term Loan Credit Agreement, dated as of March 9, 2025 (the “DIP Credit
      Agreement”), by and among MLN TopCo Ltd., as Holdings, MNIL, as Intermediate
      Holdings, MLN US TopCo, Inc., as U.S. Holdings, MLN US HoldCo LLC, as Borrower,
      Seaport Loan Products LLC (“Seaport”), as co-administrative agent, Acquiom Agency
      Services LLC (“Acquiom”) as co-administrative agent and collateral agent (Acquiom and
      Seaport collectively in such capacities, the “DIP Agent”), and the other entities from time
      to time party thereto substantially in the form presented to each Governing Body on or in
      advance of the date hereof, with such changes, additions, and modifications thereto as an
      Authorized Officer executing the same shall approve, such approval to be conclusively
      evidenced by an Authorized Officer’s execution and delivery thereof.

      RESOLVED, that each Debtor Company will obtain benefits from the use of collateral,
      including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code


                                                5
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(the “Cash Collateral”), which is, or may be determined to be, security for certain
prepetition secured agents and lenders (collectively, the “Secured Parties”) party to:

       (a) that certain Priority Lien Credit Agreement, dated as of October 18, 2022
           (as amended pursuant to that certain Amendment No. 1 to Priority Lien Credit
           Agreement, dated as of November 18, 2022, and as subsequently amended
           pursuant to that certain Incremental Assumption Agreement, dated as of
           November 18, 2022, and as may be further amended, restated, supplemented,
           waived, or otherwise modified from time to time);

       (b) that certain Second Lien Credit Agreement, dated as of October 18, 2022
           (as amended pursuant to that certain Amendment No. 1 to Second Lien Credit
           Agreement, dated as of November 18, 2022, and as may be further amended,
           restated, supplemented, waived, or otherwise modified from time to time);

       (c) that certain Third Lien Credit Agreement, dated as of October 18, 2022
           (as amended pursuant to that certain Amendment No. 1 to Third Lien Credit
           Agreement, dated as of November 18, 2022, and as subsequently amended
           pursuant to that certain Incremental Assumption Agreement, dated as of March
           9, 2023, and as may be further amended, restated, supplemented, waived, or
           otherwise modified from time to time);

       (d) that certain First Lien Credit Agreement, dated as of November 30, 2018
           (as amended pursuant to that certain Amendment No. 1, dated as of October 22,
           2020, and as subsequently amended pursuant to that certain Amendment No. 2,
           dated as of October 18, 2022, and as subsequently pursuant to that certain
           Amendment No. 3, dated as of October 18, 2022, and as may be further
           amended, restated, supplemented, waived, or otherwise modified from time to
           time); and

       (e) that certain Second Lien Credit Agreement, dated as of November 30, 2018
           (as amended pursuant to that certain Amendment No. 1, dated as of October 22,
           2020, and as subsequently amended pursuant to that certain Amendment No. 2,
           dated as of October 18, 2022, and as may be further amended, restated,
           supplemented, waived, or otherwise modified from time to time).

RESOLVED, that, in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, each Debtor Company will provide
certain adequate protection to certain of the Secured Parties (the “Adequate Protection
Obligations”), as documented in a proposed interim DIP order (the “Interim DIP Order”)
substantially in the form presented to each Governing Body of the Debtor Companies on
or in advance of the date hereof, with such changes, additions, and modifications thereto
as an Authorized Officer executing or authorizing the same shall approve, such approval
to be conclusively evidenced by the submission thereof for approval to the Bankruptcy
Court.




                                        6
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RESOLVED, that the form, terms, and provisions of the DIP Credit Agreement and the
Interim DIP Order to which each Debtor Company is or will be subject, the actions and
transactions contemplated thereby, and the performance of covenants and obligations by
such Debtor Company thereunder, be, and each is hereby authorized, adopted, and
approved, and each Authorized Officer be, and hereby is, authorized and empowered, in
the name of and on behalf of each Debtor Company, to take such actions and negotiate or
cause to be prepared and negotiated and to execute, deliver, perform, and cause the
performance of, the DIP Credit Agreement (including all related agreements, instruments,
certificates, joinders, consents, financing statements and other documents as he or she
deems necessary or appropriate to carry out the intent and accomplish the purposes of the
Loan Documents (as defined in the DIP Credit Agreement)), the Interim DIP Order, and
such other agreements, certificates, instruments, receipts, petitions, motions, or other
papers or documents to which such Debtor Company is or will be a party, including, but
not limited to any global intercompany note, assignment of insurances, debenture,
hypothec, security agreement, pledge agreement, share charge and any other security
agreement or guaranty agreement (collectively with the DIP Credit Agreement, the Interim
DIP Order, and the order of the CCAA Court recognizing the Interim DIP Order (such
order, the “Canadian DIP Recognition Order”), the “DIP Documents”), pledge its property
and grant any liens as required by the DIP Documents, incur and pay or cause to be paid
all fees and expenses and engage such persons, in each case, in the form or substantially in
the form thereof presented to the respective Governing Body of each Debtor Company on
or in advance of the date hereof, with such changes, additions, and modifications thereto
as an Authorized Officer executing the same shall approve, such approval to be
conclusively evidenced by an Authorized Officer’s execution and delivery thereof.

RESOLVED, that each Debtor Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to negotiate and incur the Adequate
Protection Obligations and to undertake any and all related transactions on substantially
the terms as contemplated under the Interim DIP Order (collectively, the “Adequate
Protection Transactions”) and any related documents (collectively, the “Adequate
Protection Documents”).

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
directed, and empowered in the name of, and on behalf of, each Debtor Company, as debtor
and debtor in possession, to take such actions as in his or her reasonable discretion is
determined to be necessary, desirable, or appropriate to effectuate the DIP Financing and
the Adequate Protection Transactions, including delivery of: (a) the DIP Documents, the
Adequate Protection Documents and such agreements, certificates, instruments, guaranties,
notices, and any and all other documents, including, without limitation, any amendments
to any DIP Documents or Adequate Protection Documents; (b) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested by the
DIP Agent or the Secured Parties; and (c) such forms of deposit, account control
agreements, blocked account agreements, officer’s certificates, and compliance certificates
as may be required by the DIP Documents or any other Adequate Protection Document.

RESOLVED, that each of the Authorized Officers be, and hereby is, authorized, directed,
and empowered in the name of, and on behalf of, each Debtor Company to file or to


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     authorize the DIP Agent or the applicable Secured Parties (or any of their representatives)
     to file any Uniform Commercial Code (the “UCC”) or Personal Property Security Act
     (“PPSA”) financing statements, financing change statements, any other equivalent filings,
     any intellectual property filings and recordation and any necessary assignments for security
     or other documents in the name of each Debtor Company that the DIP Agent or the
     applicable Secured Parties deems necessary or appropriate to perfect or evidence any lien
     or security interest granted under the Interim DIP Order, the Canadian DIP Recognition
     Order, and the other DIP Documents, including any such UCC or PPSA financing
     statement and financing change statements containing a generic description of collateral,
     such as “all assets,” “all property now or hereafter acquired” and other similar descriptions
     of like import, and to execute and deliver, and to record or authorize the recording of, all
     applicable filings in respect of intellectual and other property of each Debtor Company, in
     each case as the DIP Agent or the applicable Secured Parties may reasonably request to
     perfect or evidence the security interests of the DIP Agent or the applicable Secured Parties
     under the Interim DIP Order, the Canadian DIP Recognition Order, and the other DIP
     Documents.

     RESOLVED, that the registered office service provider of TopCo be, and hereby is,
     authorized and instructed to update the Register of Mortgages and Charges of TopCo and
     make any other filings as required or necessary to reflect any security interests granted by
     TopCo under the DIP Documents.

     RESOLVED, that each of the Authorized Officers be, and hereby is, authorized, directed,
     and empowered in the name of, and on behalf of, each Debtor Company to take all such
     further actions, including, without limitation, to pay or approve the payment of appropriate
     fees and expenses payable in connection with the DIP Financing or Adequate Protection
     Transactions and appropriate fees and expenses incurred by or on behalf of such Debtor
     Company in connection with the foregoing resolutions, in accordance with the terms of the
     DIP Documents or Adequate Protection Documents, which shall in his or her sole judgment
     be necessary, proper, or advisable to perform any of such Debtor Company’s obligations
     under or in connection with the DIP Documents or the Adequate Protection Documents
     and the transactions contemplated therein and to carry out fully the intent of the foregoing
     resolutions.

Organizational Document Amendments

     RESOLVED, that the Amending Party, acting in its Amending Capacity with respect to
     the applicable Company, hereby approves the Organizational Document Amendment, such
     that the Organizational Document Amendment shall be effective immediately prior to the
     filing of the first Petition to be filed by any of the Companies;

     RESOLVED, that the Amending Party, each acting in its Amending Capacity with respect
     to its applicable Company, hereby authorize and direct the Authorized Officers, and any
     one of them, to prepare, execute and deliver, in the name and on behalf of the Company,
     such agreements, documents or other instruments as any Authorized Officer may deem
     necessary, proper, or advisable to evidence the Organizational Document Amendment
     approved by the immediately preceding resolution; provided, that nothing in this resolution


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       is intended to imply that any such agreement, document or instrument is so needed, the
       intent of this resolution being that the immediately preceding resolution and Exhibit C
       attached hereto are, in and of themselves, sufficient to effect the Organizational Document
       Amendment approved thereby and the authority granted to the Authorized Officers in this
       resolution is merely supplemental thereto should any such Authorized Officer deem it
       necessary, proper, or advisable to otherwise or additionally document such Organizational
       Document Amendment.

General

       RESOLVED, that, in addition to the specific authorizations heretofore conferred upon
       each Authorized Officer, each Authorized Officer (and his or her designees and delegates)
       be, and hereby is, authorized and empowered, in the name of and on behalf of each
       Company, to take or cause to be taken any and all such other and further action, and to
       execute, acknowledge, deliver, and file any and all such agreements, certificates,
       instruments, and other documents and to pay all expenses, including, but not limited to,
       filing fees, in each case as in such Authorized Officer’s (or his or her designees’ or
       delegates’) judgment, shall be necessary, advisable or desirable in order to fully carry out
       the intent and accomplish the purposes of the resolutions adopted herein.

       RESOLVED, that the respective Governing Body of each Company has received
       sufficient notice of the actions and transactions relating to the matters contemplated by the
       foregoing resolutions, as may be required by the organizational documents of each
       Company, or hereby waives any right to have received such notice.

       RESOLVED, that all acts, actions and transactions relating to the matters contemplated
       by the foregoing resolutions done in the name of and on behalf of each Company, which
       acts would have been approved by the foregoing resolutions except that such acts were
       taken before the adoption of these resolutions, are hereby in all respects approved and
       ratified as the true acts and deeds of each Company with the same force and effect as if
       each such act, transaction, agreement or certificate has been specifically authorized in
       advance by resolution of the respective Governing Body of each Company.

       RESOLVED, that each Authorized Officer (and his or her designees and delegates) be,
       and hereby is, authorized and empowered to take all actions, or to not take any action in
       the name of each Company, with respect to the transactions contemplated by these
       resolutions hereunder, as such Authorized Officer shall deem necessary or desirable in such
       Authorized Officer’s reasonable business judgment, as may be necessary or convenient to
       effectuate the purposes of the transactions contemplated herein.

        This Consent may be executed in as many counterparts as may be required; all counterparts
shall collectively constitute one and the same Consent.

                                    [Signature Pages Follow]




                                                9
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 16 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                  __________________________________________
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                                  Karthik Arumugam


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                                  _________________
                                  Paul Ciaramitaro


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                                  Janine Yetter



                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF EACH COMPANY
                                  LISTED ON ATTACHMENT 1
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 17 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Karthik Arumugam


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                                  Gregory J. Hiscock


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                                  _______________
                                  Janine Yetter




                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF EACH COMPANY
                                  LISTED ON ATTACHMENT 2
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 18 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Karthik Arumugam


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                                  Paul Ciaramitaro


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                                  Gregory J. Hiscock




                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF EACH COMPANY
                                  LISTED ON ATTACHMENT 3
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 19 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Gregory J. Hiscock



                                  BEING AN AUTHORIZED OFFICER WITH SOLE
                                  SIGNING AUTHORITY OF EACH COMPANY
                                  LISTED ON ATTACHMENT 4
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 20 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Craig Evans


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                                  Gregory J. Hiscock




                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF EACH COMPANY
                                  LISTED ON ATTACHMENT 5
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 21 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Gregory J. Hiscock


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                                  Steve Pethakas



                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF EACH COMPANY
                                  LISTED ON ATTACHMENT 6
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 22 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Steve Pethakas



                                  BEING AN AUTHORIZED OFFICER WITH SOLE
                                  SIGNING AUTHORITY OF MITEL DEUTSCHLAND
                                  GMBH
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 23 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                  __________________________________________
                                  Craig Evans


                                  __________________________________________
                                  ______________
                                  Gregory J. Hiscock


                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF MITEL EUROPE
                                  LIMITED
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 24 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                  __________________________________________
                                  __________________
                                  Anthony Bellomo


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                                  Gregory Hiscock




                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF MITEL NETWORKS
                                  CORPORATION
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 25 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Paul Ciaramitaro


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                                  Janine Yetter



                                  BEING THE MEMBER OF THE
                                  BOARD OF DIRECTORS OF MNC I INC.
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 26 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Karthik Arumugam


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                                  Anthony Bellomo


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                                  _______________
                                  Janine Yetter



                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF MITEL LEASING INC.
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 27 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                  MLN US HOLDCO LLC
                                  BY MLN US TOPCO, INC., SOLE MEMBER


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                                  __________________________________________
                                  Name: Gregory J. Hiscock
                                  Title: Secretary
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 28 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                  UNIFY COMMUNICATIONS AND
                                  COLLABORATION GMBH & CO. KG
                                  BY UNIFY FUNDING GMBH, GENERAL PARTNER


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                                  Name: Gregory J. Hiscock
                                  Title: Officer
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 29 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                  __________________________________________
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                                  Stuart Aldridge


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                                  Gregory J. Hiscock



                                  BEING ALL OF THE MEMBERS OF THE BOARD
                                  OF DIRECTORS OF UNIFY HOLDING UK 1
                                  LIMITED
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 30 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                  UNIFY SOFTWARE $1' SOLUTIONS GMBH &
                                  CO. KG
                                  BY UNIFY FUNDING GMBH


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                                  Name: Gregory J. Hiscock
                                  Title: Officer
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 31 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Francois Dekker


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                                  Andrew Kidd


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                                  Julian Nemirovsky


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                                  Nicolo Zanotto




                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF MLN TOPCO LTD.
       Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 32 of 47




IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


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                                  Andrew Frey


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                                  David Fuller


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                                  Andrew Kidd


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                                  Tarun Loomba


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                                  Julian Nemirovsky


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                                  Adam Reiss


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                                  Erol Uzumeri



                                  BEING ALL OF THE MEMBERS OF THE
                                  BOARD OF DIRECTORS OF MITEL NETWORKS
                                  (INTERNATIONAL) LIMITED
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                                Attachment 1


COMPANY                                                      JURISDICTION

Mitel Networks, Inc.                                                Delaware

Mitel US Holdings, Inc.                                             Delaware
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                                Attachment 2


COMPANY                                                      JURISDICTION

Mitel (Delaware), Inc.                                              Delaware

Mitel Cloud Services, Inc.                                               Texas

Mitel Communications, Inc.                                          Delaware
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                                Attachment 3


COMPANY                                                      JURISDICTION

Mitel Business Systems, Inc.                                         Arizona

Mitel Technologies, Inc.                                             Arizona

Unify, Inc.                                                         Delaware
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                                  Attachment 4


COMPANY                                                     JURISDICTION

MLN DE HoldCo GmbH                                                 Germany

Unify Beteiligungsverwaltung GmbH & Co. KG                         Germany

Unify Funding GmbH                                                 Germany

Unify International Verwaltung GmbH                                Germany
      Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 37 of 47




                                  Attachment 5


COMPANY                                                      JURISDICTION

Mitel Networks Holdings Limited                               United Kingdom

Mitel Networks Limited                                        United Kingdom
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                                    Attachment 6


COMPANY                                                      JURISDICTION

Unify Enterprise Communications Ltd.                          United Kingdom

Unify Enterprise UK Holdings Ltd.                             United Kingdom

Unify UK International Limited                                United Kingdom
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                                 Exhibit A
                             Debtor Companies

       COMPANY
 1.   Mitel (Delaware), Inc.
 2.    Mitel Business Systems, Inc.
 3.    Mitel Cloud Services, Inc.
 4.    Mitel Communications Inc.
 5.    Mitel Europe Limited
 6.    Mitel Leasing, Inc.
 7.    Mitel Networks (International) Limited
 8.    Mitel Networks Corporation
 9.    Mitel Networks, Inc.
 10.   Mitel Technologies, Inc.
 11.   Mitel US Holdings, Inc.
 12.   MLN TopCo Ltd.
 13.   MLN US HoldCo LLC
 14.   MLN US TopCo Inc.
 15.   MNC I Inc.
 16.   Unify Inc.
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                              Exhibit B
                        RSA Company Parties

       COMPANY
 1.   Mitel (Delaware), Inc.
 2.    Mitel Business Systems, Inc.
 3.    Mitel Cloud Services, Inc.
 4.    Mitel Communications Inc.
 5.    Mitel Deutschland GmbH
 6.    Mitel Europe Limited
 7.    Mitel Leasing, Inc.
 8.    Mitel Networks (International) Limited
 9.    Mitel Networks Holdings Limited
 10.   Mitel Networks Corporation
 11.   Mitel Networks Limited
 12.   Mitel Networks, Inc.
 13.   Mitel Technologies, Inc.
 14.   Mitel US Holdings, Inc.
 15.   MLN DE HoldCo GmbH
 16.   MLN TopCo Ltd.
 17.   MLN US HoldCo LLC
 18.   MLN US TopCo Inc.
 19.   MNC I Inc.
 20.   Unify Beteiligungsverwaltung GmbH & Co. KG
 21.   Unify Communications and Collaboration GmbH & Co. KG
 22.   Unify Enterprise Communications Ltd.
 23.   Unify Enterprise UK Holdings Ltd.
 24.   Unify Funding GmbH
 25.   Unify Holding UK 1 Limited
 26.   Unify Inc.
 27.   Unify International Verwaltung GmbH
 28.   Unify Software and Solutions GmbH & Co KG
 29.   Unify UK International Limited
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                                       Exhibit C

                       Organizational Document Amendment


 COMPANY                                                        AMENDING PARTY
 MLN US HoldCo LLC                                               MLN US TopCo Inc.
The Limited Liability Company Agreement of the entity set forth in the table above, as
thereafter amended, is, and hereby is, amended as follows to include the following rider:
       “Notwithstanding anything to the contrary herein or in the Act, no Member
       shall cease to be a member of the Company upon the happening to the
       Member of any of the events of bankruptcy described in Section 18-304 of
       the Act. The death, retirement, resignation, expulsion, incapacity,
       bankruptcy or dissolution of any or all Members in the Company, shall not
       cause a dissolution of the Company, and the Company shall continue in
       existence subject to the terms and conditions of this Agreement.”
                          Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 42 of 47


      Fill in this information to identify the case:

      Debtor name     MLN US Holdco LLC, et al.
      United States Bankruptcy Court for the:    Southern               District of    Texas

      Case number (If known):
                                                                                      (State)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated, total claim amount and deduction for value of
                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if   Deduction for      Unsecured
                                                                                                                       partially         value of           claim
                                                                                                                       secured           collateral or
                                                                                                                                         setoff

1    Estech Systems IP, LLC                     Attn: Karen Boyd
                                                                                 Contractual
     3701 E Plano Parkway, Suite 300            P: 972-422-9700                                                                                             $2,100,000.00
                                                                                 Obligation
     Plano, TX 75074-1806                       kboyd@esi-estech.com

2    Amazon Web Services Inc                    Attn: Akshay Sampath
     410 Terry Ave North                        P: 416-618-0154                  Trade Debt                                                                 $1,341,249.21
     Seattle, WA 98109-5210                     sampaaks@amazon.com

                                                Attn: Razi Parvez Gaffoor
3    Rackspace US Inc
                                                P: 647-292-8929
     PO Box 730759                                                             Trade Debt                                                                   $1,301,685.44
                                                raziparvez.gaffoor@rackspace.c
     Dallas, TX 75373-0759
                                                om
     Martello Technologies
4    Corporation                                Attn: Vijita Namboothiri
     390 March Rd, Suite 110                    P: 613-271-5989                  Trade Debt                                                                 $1,256,623.88
     Kanata, ON K2K 0G7                         vnamboothiri@martello.com
     Canada
     ASC Americas Inc
5                                               Attn: Neil Bonser
     101 Crawfords Corner Rd
                                                P: 848-229-3388              Trade Debt                                                                     $1,007,059.06
     Suite 4126
                                                n.bonser@asctechnologies.com
     Holmdel, NJ 7733
     HCL Technologies Limited
6                                               Attn: Manit Kumar
     806, Siddharth, 96, Nehru Pl
                                                P: 203-524-3209                  Trade Debt                                                                  $888,258.94
     New Delhi, 110019
                                                manit.k@hcltech.com
     India
     Wistron Corporation
7                                               Attn: Delia Liu
     No. 1, Zhihui Rd, Zhubei City
                                                P: 886-3-5770707                 Trade Debt                                                                  $791,171.79
     Hsinchu, 302059
                                                delia_liu@wistron.com
     Taiwan

8    1111 Systems Inc                           Attn: Kerry Sabo
     695 Route 46, Suite 301                    P: 717-269-2231                  Trade Debt                                                                  $655,711.02
     Fairfield, NJ 7004                         ksabo@1111systems.com



    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 1
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    Debtor
                   MLN US Holdco LLC, et al.                                                     Case number (if known)
                 Name




     Name of creditor and complete          Name, telephone number, and    Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor      (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                        debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated, total claim amount and deduction for value of
                                                                           services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                    Total claim, if   Deduction for    Unsecured
                                                                                                                    partially         value of         claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff


9    Granite Park NM GP IV LP              Attn: Nicole Rustin
     PO Box 207329                         P: 972-731‑2395                 Lease Obligation                                                             $599,118.35
     Dallas, TX 75320-7329                 nrustin@graniteprop.com

     Ascom Sweden AB
10                                         Attn: Karin Fogelberg
     P.O. BOX 8783 SE-402 76
                                           P: +46 31 55-9410               Trade Debt                                                                   $567,702.53
     Gothenburg
                                           karin.fogelberg@ascom.com
     Sweden

11 CPA Global                              Attn: Eric Winston
   3133 W Frye Road                        P: 866-739-2239                 Trade Debt                                                                   $525,497.72
   Chandler, AZ 85226                      eric.winston@clarivate.com

     Workday Limited                       Attn: Irem Toprac
12
     Kings Bldg 152 155 Church St          P: 647-913-9636
                                                                         Trade Debt                                                                     $487,003.00
     Dublin, D7                            accounts.receivable@workday.c
     Ireland                               om
     Softchoice LP
13                                         Attn: Sabrina Mahdi
     20 Mowat Ave
                                           P: 514-846-7540              Trade Debt                                                                      $480,293.45
     Toronto, ON M6K 3E8
                                           sabrina.mahdi@softchoice.com
     Canada
     Innovatia Technical Services Inc
14                                         Attn: Heather Boulter
     1 Germain St
                                           P: 506-717-0063                 Trade Debt                                                                   $401,275.07
     Saint John, NB E2M 2G1
                                           heather.boulter@innovatia.net
     Canada

15 Softtek Integration Systems Inc    Attn: Silvia Rivera
   15303 North Dallas Pkwy, Suite 200 P: 936-718-0822                      Trade Debt                                                                   $350,147.68
   Addison, TX 75001                  silvia.rivera@softtek.com

16 IDI Billing Solutions                   Attn: Carmen DeFeo
   7615 Omnitech Place                     P: 585-453-6681                 Trade Debt                                                                   $324,743.18
   Victor, NY 14564                        cdefeo@idibilling.com

     EBQ LLC
17                                         Attn: Christina Harmel
     6800 Burleson Rd, Building 310,
                                           P: 512-637-9253                 Trade Debt                                                                   $320,000.00
     Suite 265
                                           christina.harmel@ebq.com
     Austin, TX 78744

18 Zuora Inc                               Attn: Kennedy Ottenbreit
   101 Redwood Shores Parkway              P: 650-641-3777                 Trade Debt                                                                   $319,140.26
   Redwood City, CA 94065                  kottenbreit@zuora.com

     Concentrix CVG Customer               Attn: Denise Goodrum
19
     Management                            P: 615-523-5450
                                                                          Trade Debt                                                                    $299,930.94
     201 E. 4th St                         svs_agencybilling@concentrix.c
     Cincinnati, OH 45202                  om

20 TC III SPP South LLC                    Attn: Lita Cunanan
   1 Almaden Blvd, Suite 630               P: 408-436-3608                 Lease Obligation                                                             $292,318.68
   San Jose, CA 95113                      lita.cunanan@cushwake.com



    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 2
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      Debtor          MLN US Holdco LLC, et al.                                                 Case number (if known)        ________________________________________________
                      Name


         Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
         mailing address, including zip code    email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated, total claim amount and deduction for value of
                                                                              services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if    Deduction for         Unsecured
                                                                                                                    partially          value of              claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff


    21 Microautomation Inc                     Attn: Chris Gray
       5870 Trinity Pkwy, Suite 600            P: 703-543-2104                Trade Debt                                                                      $284,253.72
       Centreville, VA 20120-1970              cgray@microautomation.com

         Syntax Systems Limited
    22                                         Attn: Pascal Galipeau
         111 Robert Bourassa Blvd, Suite
                                               P: 819-431-3425
         4500                                                                Trade Debt                                                                       $272,679.77
                                               pgalipeau@beyondtechnologies.
         Montreal, QC H3C 2M1
                                               ca
         Canada
    23 Genesys Cloud Services Inc              Attn: Paulo Sousa
       2001 Junipero Serra Blvd                P: 703-673-1752              Trade Debt                                                                        $270,832.13
       Daly City, CA 94014                     genesyslicensing@genesys.com

                                               Attn: Deepak Dwarakanath
    24 Movate Inc
                                               P: 704-890-8274
       5600 Tennyson Pkwy, Suite 255                                         Trade Debt                                                                       $252,912.00
                                               accounts.receivable@movate.co
       Plano, TX 75024
                                               m
         Shenzhen Dinstar Co Ltd
    25                                         Attn: Lily Luo
         Room 1801-1804, Building 7A, 44
                                               P: +86 755-26456664            Trade Debt                                                                      $251,649.00
         Shenzhen, CN 518000
                                               lily@dinstar.com
         China

    26 Tech Mahindra Limited                   Attn: Rakshanda Srivastava
       4965 Preston Park Blvd, Suite 500       P: 214-974-9907               Trade Debt                                                                       $250,669.55
       Plano, TX 75093                         rakshandas1@bsraffiliates.com

    27 People AI Inc.                          Attn: Sheldon Buytenhuys
       548 Market Street 58279                 P: 888-997-3675              Trade Debt                                                                        $243,236.16
       San Francisco, CA 94104-5401            sheldon.buytenhuys@people.ai

    28 RingCentral Inc                         Attn: Nancy Leone
                                                                              Contract
       PO Box 734232                           P: 408-309-4011                                      Unliquidated                                             Unliquidated
                                                                              Counterparty
       Belmont, CA 94002                       collections@ringcentral.com

         Atos1
    29                                         Attn: Alison Pearsall
         River Ouest - 80 Quai Voltaire                                       Contract
                                               P: + 33 (0)6 76 89 95 90                                 CUD                                                  Unliquidated
         Bezons, Cedex 95877                                                  Counterparty
                                               alison.pearsall@eviden.com
         France

    30 Nice Systems Inc2                       Attn: Jay Frank
                                                                              Contract
       221 River St, 10th Floor                P: 212-774-3640                                          CUD                                                  Unliquidated
                                                                              Counterparty
       Hoboken, NJ 7030                        jay@nicetouch.net




1
 The claim ascribed to this party is the subject of a prepetition settlement agreement, which the Debtors are seeking to assume via motion that
will be filed on or shortly after the Petition Date.
2
 The claim ascribed to this party is the subject of a prepetition settlement agreement, which the Debtors are seeking to assume via motion that
will be filed on or shortly after the Petition Date.
      Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 3
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                           §
 In re:                                                    § Chapter 11
                                                           §
Mitel Communications Inc.
                                                           § Case No. 2-(         )( )
                                                           §
                          Debtor.                          §
                                                           §

                           LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the debtor

respectfully represents that the below chart identifies the holders of the debtor’s sole class of equity

interests and sets forth the nature and percentage of such interests held as of the filing of the

debtor’s chapter 11 petition:


                                                                Mailing Address of Interest
 Interest Holder                Class/Amount of Interest
                                                                Holder

 Mitel (Delaware), Inc.         100% of Common Interests c/o MLN US HoldCo LLC
                                                         2160 W Broadway Road, Suite 103
                                                         Mesa, Arizona 85202
          Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 46 of 47




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                          §
 In re:                                                   § Chapter 11
                                                          §
Mitel Communications Inc.
                                                          § Case No. 2-(       )( )
                                                          §
                         Debtor.                          §
                                                          §

                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following list identifies corporations that own 10% or more of the debtor’s equity interests as

of the filing of the debtor’s chapter 11 petition:

 Interest Holder                                     Class/Percentage of Interest

Mitel (Delaware), Inc.                               100% of Common Interests
                      Case 25-90092 Document 1 Filed in TXSB on 03/10/25 Page 47 of 47

 Fill in this information to identify the case and this filing:


             Mitel Communications Inc.
 Debtor Name __________________________________________________________________

                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a
                                          &RUSRUDWH2ZQHUVKLS6WDWHPHQWDQG/LVWRI(TXLW\6HFXULW\+ROGHUV
              declaration_________________



        I declare under penalty of perjury that the foregoing is true and correct.
                                                                8 /s/ Janine Yetter
                                                                    _________________________________________________________________________
                     03/09/2025
        Executed on ______________                                   Signature of individual signing on behalf of debtor

                           MM / DD / YYYY



                                                                  Janine Yetter
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Authorized Signatory
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
